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                                 540602



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK

 IN RE PAYMENT CARD INTERCHANGE )
 FEE AND MERCHANT DISCOUNT                      )   No. 05-md-01720 (MKB) (JAM)
 ANTITRUST LITIGATION                           )
                                                )
 This Document Applies To:                      )
 _____________________________________ )
                                                )
 Barry’s Cut Rate Stores, Inc., et al. v. Visa, )
 Inc., et al., No. 05-md-01720 (E.D.N.Y.)       )
 (MKB) (JAM), also now known as DDMB, )
 Inc., et al. v. Visa, Inc., et al., No. 05-md- )
 01720 (E.D.N.Y.) (MKB) (JAM).                  )
 _____________________________________)


                          WALMART’S OPPOSITION TO
                    PLAINTIFFS’ MOTION FOR PRELIMINARY
                APPROVAL OF PROPOSED MANDATORY SETTLEMENT
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 Intervenor Wal-Mart Stores, Inc. (“Walmart”) respectfully submits this Opposition to Plaintiff’s

 Motion for Preliminary Approval of Settlement.

                                       PRELIMINARY STATEMENT

          When Walmart intervened in this action to oppose certification of a Rule 23(b)(2) litigation

 class, it argued, inter alia, that Rule 23’s requirements were not met and due process would be

 violated because the class representatives—who all are small local merchants (“Small Local

 Merchants”)—had interests antagonistic to those of a separate group, large national merchants

 (“Large National Merchants”) like Walmart. 1 Small Local Merchants were inadequate

 representatives of a class that includes Large National Merchants, Walmart explained, because

 Plaintiffs would trade off Walmart’s interests to achieve their own: they would “abandon

 Walmart’s interest in eliminating ‘Honor All Cards’ and other rules to get the right to surcharge

 consumers … [and] offer a settlement that prohibits opt-outs and grant[s] a broad, prospective

 release that Defendants no doubt would contend precludes Walmart from seeking different terms.”

 ([Doc. 8471] at 6 (citing In re Payment Card Interchange Fee & Merch. Discount Antitrust Litig.,

 827 F.3d 223, 238-39 (2d Cir. 2016).) It is the Honor All Cards rules that inhibit competition, and

 any “equitable relief” settlement that leaves those rules in place offers only illusory relief, increases

 the likelihood that litigation over the central restraints at issue in this case will continue for

 decades, and fails to enforce the antitrust laws. 2


 1
  Walmart hereby incorporates by reference its submissions in support of its intervention [Docs. 8464, 8465, 8471],
 and in opposition to the certification of a 23(b)(2) litigation class [Doc. 8617].
 2
   Although it is impractical for card issuers and networks to negotiate with Small Local Merchants because there are
 many thousands of them, it would be practical for them to negotiate with a Large National Merchant like Walmart.
 And Walmart, which already negotiates with thousands of vendors individually, is staffed and capable of conducting
 negotiations with the few thousand banks and card issuers, whereas an individual Small Local Merchant likely would
 not be. But so long as issuers are guaranteed that their cards must be accepted at Walmart stores because of the Honor
 All Cards rules, they have little incentive to negotiate directly with Walmart. In re Payment Card Interchange Fee &
 Merch. Discount Antitrust Litig., 2024 WL 1014159, at n.11 (E.D.N.Y. Feb. 22, 2024) (“Acquirors have no incentive
 to pay interchange fees above the default levels and Issuers have no incentive to accept interchange fees below the

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          In certifying the mandatory litigation class, this Court rejected Walmart’s adequacy of

 representation, due process, and cohesion arguments principally because “Opponents’ arguments

 regarding their preferred injunctive relief are premature and speculative.” ([Doc. 8647] at 57; id.

 at 56 (“premature at this stage of the litigation”); id. at 52 (“the Court declines to make any

 judgments at this stage of the litigation”).)

          Now this Court is faced with concrete proof that Walmart and the other Objectors were

 right and the Small Local Merchants possess antagonistic interests that caused them to sell out the

 interests of the Large National Merchants in obtaining relief from the anticompetitive Honor All

 Cards rules. Cf. In re Payment Card, 827 F.3d at 236 (“Here, the bargain that was struck between

 relief and release on behalf of absent class members is so unreasonable that it evidences inadequate

 representation.”). The Small Local Merchants are asking this Court to preliminarily approve a

 mandatory settlement—with no opt outs—that would:

     •    Leave intact the Honor All Cards rules that flagrantly violate the antitrust laws and are the
          single most important anticompetitive practice that Large National Merchants must obtain
          relief from;

     •    Provide “relief” that is meaningless to Large National Merchants, including: “group
          buying,” which cannot meaningfully reduce rates because of the Honor All Cards rules and
          default interchange rates; “discounting” that might not be available to such merchants
          because of co-branding agreements; a surcharging procedure that does nothing to promote
          competition and would conflict with Walmart’s “Everyday Low Prices” business model;
          and a small, time-restricted “rate cap” on interchange fees that is worthless to Large
          National Merchants, and the cap could in any event be circumvented simply by Defendants
          raising other rates (such as network assessments); 3 and

 default levels.”). If, however, Walmart could choose to accept or reject issuer’s cards (i.e., if the Honor All Cards rule
 were eliminated), then issuers would be incentivized to negotiate their rates with Walmart to ensure that Walmart
 would accept their cards. (See also [Doc. 8471] at 8 (“card-issuing banks … currently have little incentive to negotiate
 with Walmart because of the HAC rules.”); [Doc. 8617] at 2-3 (Plaintiffs will “grant[] Defendants an extremely broad
 release of claims that lets them keep hampering competition through their HAC rules”), 4-6 (“ERPs will seek an
 injunction that disables large merchants’ bargaining power”).
 3
  See, e.g., Peter Lucas, Mastercard Plans a Network Fee Hike for Later this Month. Merchants Aren’t Happy (Apr. 4,
 2024) (describing Mastercard’s plan to—after announcing the settlement’s interchange fee rate cap—raise its Acquirer
 Brand Volume Fee by .01%, which is “expected to increase merchants’ network fees by $259.1 million annually”)
 (https://www.digitaltransactions.net/mastercard-plans-a-network-fee-hike-for-later-this-month-merchants-arent-

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     •   Force Large Merchants to release future claims—both for continuing violations of the
         antitrust laws, and for as-yet-unknown future rules and conduct that violate the antitrust
         laws, for a period of five years after final approval of the settlement.


         The class representatives and their counsel have utterly sold out the Large National

 Merchants in this Proposed Settlement. There can be little doubt that Defendants’ Honor All Cards

 rules are subject to strong arguments that they are anticompetitive and an unlawful restraint on

 trade. See, e.g., In re Payment Card Interchange Fee & Merch. Discount Antitrust Litig., 2024 WL

 278565, at *29 (E.D.N.Y. Jan. 25, 2024) (“a jury could reasonably conclude that the total two-

 sided prices of credit and debit transactions are supracompetitive,” and “Plaintiffs have satisfied

 their burden [on summary judgment] by demonstrating direct evidence that Defendants controlled

 prices or excluded competition”). Indeed, this is the primary argument that has spawned nearly

 two decades of litigation in this MDL, and it is the one that Defendants most fear having a court

 actually rule on. In re Payment Card, 827 F.3d at 239 (“perhaps most important[]” of the released

 claims were the honor-all-cards and default interchange rules”).

         But the Small Local Merchants who represent this cram-down mandatory settlement class

 have traded away the interests of Large National Merchants for relief that is worthless to the

 members with the most at stake in this litigation—an easily-circumvented, time-limited rate cap

 that gives Large National Merchants nothing 4 and a surcharge process they cannot use consistent

 with their business models. Notably, none of the settlement’s so-called “relief” would increase



 happy/#:~:text=Merchants%20Aren't%20Happy,-
 Peter%20Lucas%20April&text=Mastercard%20merchants%20will%20see%20a,0.14%25%2C%20effective%20Ap
 ril%2015).
 4
  As this Court has noted, some Large National Merchants have used their bargaining power to mitigate somewhat the
 damage caused by Defendants’ anticompetitive conduct. See In re Payment Card Interchange Fee & Merch. Discount
 Antitrust Litig., 986 F. Supp. 2d 207, 239 (E.D.N.Y. 2013) (“[D]efault interchange operates only in the absence of
 bilateral agreement, and some of the very large merchants have sufficient transaction volume that they can actually
 negotiate for their own, lower interchange structures.”), rev’d and vacated, 827 F.3d 223 (2d Cir. 2016).

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 competition, and incredibly, the settlement’s Release would have this Court grant the Defendants

 free license to continue to overcharge all merchants for at least five more years into the future,

 precluding them from seeking equitable relief to enforce the antitrust laws and end Defendants’

 anticompetitive practices, thereby stopping their own hemorrhage of monetary losses.

        The Proposed Settlement demonstrates that neither the named class representatives nor the

 lawyers who represent them considered the interests of the one group of class members who stand

 to gain the most from actual enforcement of the antitrust laws against Defendants’ Honor All Cards

 rules. Large National Merchants are best situated to individually fund and prosecute lawsuits to

 attack those rules—even on an individual, rather than a classwide, basis. By agreeing to bar future

 individual private enforcement suits for a period of five years—without providing Large National

 Merchants any real relief—the Small Local Merchants and their lawyers have acted contrary to

 the interests of a significant, previously-identified segment of class members, making them

 inadequate representatives under Rule 23(a) and demonstrating the lack of cohesion in the class

 this Court previously certified. Cf. In re Payment Card, 827 F.3d at 240 (“an unreasonable tradeoff

 between relief and release … demonstrates their representation did not comply with due process”).

                                    STATEMENT OF FACTS

        The named Plaintiffs who purport to represent the class are all Small Local Merchants.

 They are a Corpus Christi dental practice, a Coral Gables business internet provider, a Miami IT

 support provider, a Florida pharmacy, and a Georgia beauty salon. ([Doc. 8647] at 10.)

        Walmart is a Large National Merchant that accepts Defendants’ payment cards at over

 5,200 locations in the United States and runs a comprehensive ecommerce website that also accepts




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 Defendants’ payment cards. 5 It operates over 4,600 retail stores under the Walmart brand in the

 United States, and another 599 stores under the Sam’s Club brand in the United States. Unlike the

 named Plaintiffs, it is present in every US state and Puerto Rico. Due to its size, transaction

 volumes, and frequency of customer visits, Walmart is uniquely positioned to negotiate directly

 and individually with issuer banks—if it were not effectively prevented from doing so by the

 Honor All Cards rules, which is one of the most material inhibitors of Walmart’s ability to negotiate

 what it believes are reasonable costs and otherwise rein in Defendants’ anticompetitive practices.

          Unlike the named Plaintiffs, Walmart opted out of the first proposed Rule 23(b)(3)

 settlement class in this case and also objected to the proposed mandatory Rule 23(b)(2) settlement.

 Visa then filed a declaratory judgment action against Walmart in this MDL, and Walmart brought

 its own antitrust action against Visa, which was transferred to this MDL. In that antitrust action,

 Walmart challenged anticompetitive practices that included, but were not limited to, Visa’s use of

 its Honor All Cards rules to acquire and maintain the market power necessary to charge Walmart

 supracompetitive interchange fees. In 2017 Walmart dismissed its antitrust action against Visa and

 Visa dismissed its declaratory judgment action against Walmart.

          This Court granted Walmart’s intervention in this action in 2021, and Walmart filed an

 Opposition to Plaintiffs’ motion to certify the Rule 23(b)(2) litigation class. This Court ultimately

 certified the litigation class on September 27, 2021. [Doc. 8647.]

          Walmart has an intense interest in eliminating the Defendants’ anticompetitive conduct,

 which causes it financial harm daily—and particularly has an interest in eliminating or rolling back

 Defendants’ Honor All Cards rules, which require Walmart to accept for payment all manner of



 5
  In fiscal year 2024, Walmart recorded $441.8 billion in U.S. net sales, the majority of which were transacted with
 Visa and Mastercard payment cards. See Walmart Inc., 2024 Annual Report, at 7
 https://stock.walmart.com/files/doc_financials/2024/ar/2024-annual-report-pdf-final-final.pdf.

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 Defendants’ cards, including those that have interchange fees that are substantially higher than

 other cards. See [Doc. 2644]. Walmart has testified in this MDL how Defendants use Honor All

 Cards rules to harm competition and has explained why eliminating these rules is a priority for

 Walmart. (See Cook Decl. [Doc. 2644] ¶¶ 8, 48-50.)

        Eliminating the Honor All Cards rules would allow Walmart freedom to negotiate

 individually with both Visa’s and Mastercard’s member banks over the terms of payment

 acceptance to secure terms that most benefit Walmart and its customers (e.g., low interchange

 rates). See In re Payment Card Interchange Fee & Merch. Discount Antitrust Litig., 986 F. Supp.

 2d 207, 239 (E.D.N.Y. 2013) (“some of the very large merchants have sufficient transaction

 volume that they can actually negotiate for their own, lower interchange structures”), rev’d and

 vacated, 827 F.3d 223 (2d Cir. 2016).

        Walmart is in a unique position in this litigation. It has settled some of its past claims

 against Defendants and does not currently seek money damages. It does, however, have a critical

 interest in opting out of any class settlement that would further hamstring its ability to negotiate

 about or bring suit over Defendants’ continued application of their Honor All Cards rules and the

 supracompetitive interchange rates that Walmart is paying. By giving Defendants carte blanche to

 maintain their Honor All Cards rules in force through at least the five-year period of the release,

 the Proposed Settlement removes the ability of all Large National Merchants to challenge

 Defendants’ Honor All Cards rules—thereby negatively impacting the market as a whole.

        Although the Small Local Merchants value relief that allows them to implement surcharges

 on their customers, Walmart and other Large National Merchants would not benefit from the ability

 to impose surcharges on their customers. (See Cook Decl. [Doc. 2644] ¶ 39; [Doc. 2644] at 4-14.)

 Surcharges are an ineffective cost-recovery tool that does nothing to increase competition.



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 Surcharging also conflicts with Walmart’s Every Day Low Price strategy, where pricing is

 consistent across all forms of payment. Walmart competes with a vastly wider breadth of retailers

 than Small Local Merchants do, and if Walmart were to surcharge, then customers would switch

 to Walmart’s competitors. Walmart also differs from Small Local Retailers in that it has more than

 5,200 stores nationwide and, with its high-volume business, must have uniform processes that

 streamline the checkout process. Implementing surcharging would require changes to the process

 that would impact the uniformity across stores and increase wait times. Walmart also differs from

 Small Local Merchants in that it operates in all 50 states and Puerto Rico—including those that

 have laws which prohibit surcharging.

         Walmart has a strong interest in negotiating its own acceptance and interchange rates with

 all Defendants, including individual issuer banks. And Walmart is uniquely positioned to drive

 interchange fees lower and pass those savings along to its customers—if it were unencumbered by

 the Defendants’ Honor All Cards rules. But Small Local Merchants do not have the same

 incentives, and they have negotiated a deal that removes any reason for Defendants to negotiate

 terms during the five-year term of the release.

                                           ARGUMENT

    I.      IN THE PROPOSED SETTLEMENT, THE NAMED PLAINTIFFS AND CLASS
            COUNSEL HAVE SOLD OUT THE LARGE NATIONAL MERCHANTS’
            INTERESTS, VIOLATING THE ADEQUACY OF REPRESENTATION AND
            COHESION REQUIREMENTS

         A. A Mandatory 23(b)(2) Class Requires a Unitary, Indivisible Interest

         As Justice Souter explained in Ortiz, the Supreme Court is particularly cautious to not allow

 adventurous interpretations of Rule 23’s mandatory class provisions. Ortiz v. Fibreboard Corp.,

 527 U.S. 815, 842-43, 846 (1999) (where the legal rights of absentees are resolved without their

 consent, it is an exception to the general rule that one is not bound by a judgment in which he has

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 not been made a party by service of process); see also In re Payment Card, 827 F.3d at 231 (“Class

 actions are an exception to the rule that only named parties conduct and are bound by litigation”

 and the representative “‘possess the same interest and suffer the same injury’” as the class). Unlike

 Rule 23(b)(3)—which in 1966 was a new innovation to allow class actions to try individual claims

 for monetary relief together for convenience—the mandatory class provisions (including 23(b)(2))

 were drafted with a retrospective view to capture the pre-1966 practice, in which class actions were

 extremely limited. Thus, the Ortiz Court directed that one should presume with respect to

 mandatory classes that “historical antecedents identify requirements.” Ortiz, 527 U.S. at 845; see

 also Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 361 (2011) (“Because Rule 23 “stems from

 equity practice” that predated its codification, in determining its meaning we have looked to the

 historical models on which the Rule was based.”).

        The class action for injunctive or declaratory relief—what is now 23(b)(2)—very clearly

 required in equity practice (and later, in practice under the 1938 rule) that the mandatory class have

 a unitary community of interest. See, e.g., J. Story, Commentary on Equity Pleadings (3d ed. 1844)

 (courts require “a common interest or a common right,” and that all class members “stand, or are

 supposed to stand, in the same situation”). In Dukes, the Court gave the example of civil rights

 cases involving class-based discrimination as the prime example of what Rule 23(b)(2) was meant

 to capture. 564 U.S. at 361 (observing that “[i]n none of the cases cited by the Advisory Committee

 as examples of (b)(2)’s antecedents did the plaintiffs combine any claim for individualized relief

 with their classwide injunction”). It described (b)(2) classes as ones where “the relief sought must

 perforce affect the entire class at once.” Id. at 361-62. And it reasoned that such classes are

 mandatory because of the unitary interest of the class members; notice and the right to opt out are

 unnecessary precisely because the “class seeks an indivisible injunction benefitting all its



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 members.” Id. at 362. 6 Indeed, the Dukes Court made it plain that in a proper (b)(2) mandatory

 class action, the class members’ interests must be “indivisible”:

          The key to the (b)(2) class is “the indivisible nature of the injunctive or declaratory
          remedy warranted—the notion that the conduct is such that it can be enjoined or
          declared unlawful only as to all of the class members or as to none of them.”

 Id. at 360 (citation omitted). 7

          B. The Mandatory Class Defined in This Proposed Settlement Lacks Unity of
             Interests and Its Interests Are Not Indivisible

          The Second Circuit has held that an adequate class representative “must have no interests

 antagonistic to the interests of other class members.” In re Literary Works in Elec. Databases

 Copyright Litig., 654 F.3d 242, 249 (2d Cir. 2011) (emphasis added). Other courts also have

 considered the potentially divergent interests of class members when considering whether class

 certification under Rule 23(b)(2) is appropriate. See Shook v. Board of Cnty. Comm’rs of Cnty. of

 El Paso, 543 F.3d 597, 604 (10th Cir. 2008) (“The latter half of Rule 23(b)(2) requires that final

 injunctive relief be appropriate for the class as a whole. The rule therefore authorizes an inquiry

 into the relationship between the class, its injuries, and the relief sought, and we have interpreted

 the rule to require that a class must be amenable to uniform group remedies.”) (internal quotation

 marks omitted); Valley Drug Co. v. Geneva Pharm., Inc., 350 F.3d 1181, 1190 (11th Cir. 2003)


 6
   See also Coleman v. GMAC, 296 F.3d 443, 447-48 (6th Cir. 2002) (opt outs are “unnecessary for a Rule 23(b)(2)
 class because its requirements are designed to permit only classes with homogenous interests”); Holmes v. Cont’l Can
 Co., 706 F.2d 1144, 1155-56 (11th Cir. 1983) (homogeneity); Weitzel v. Liberty Mut. Ins. Co., 508 F.2d 239, 256 (3d
 Cir. 1975) (the “very nature of a (b)(2) class is that it is homogenous without any conflicting interests between the
 members of the class”).
 7
   Accord Harris v. Union Pac. R.R. Co., 953 F.3d 1030, 1033 (8th Cir. 2020) (“The touchstone of a Rule 23(b)(2) class
 is that the claims must be cohesive.”); Kartman v. State Farm Mut. Auto. Ins. Co., 634 F.3d 883, 893 n.8 (7th Cir.
 2011) (“Where a class is not cohesive such that a uniform remedy will not address the injuries of all the plaintiffs,
 class certification is typically not appropriate.”); In re MTBE Prod. Liab. Litig., 209 F.R.D. 323, 343 (S.D.N.Y. 2002)
 (“The hallmark of the (b)(2) action is homogeneity,” and greater cohesiveness is required in a (b)(2) class because of
 its mandatory nature than in a (b)(3) class); 1 Jos. M. McLaughlin, McLaughlin on Class Actions § 5:15 (2012) (“Every
 Circuit to address the issue (other than the Ninth Circuit) has held that Rule 23(b)(2) requires a showing of
 cohesiveness among class members”).


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 (“This circuit is not alone in interpreting Rule 23(a)(4) to preclude class certification where the

 economic interests and objectives of the named representatives differ significantly from the

 economic interests and objectives of unnamed class members.”). 8

          But both this Court and the Second Circuit have previously acknowledged in this litigation

 that Large National Merchants like Walmart are differently situated and have different interests

 than Small Local Merchants like Plaintiffs. In certifying the litigation class here, this Court noted:

          The Court recognizes that merchants are likely impacted in a variety of ways by the
          Restraints. As Opponents argue, the class consists of merchants large and small, with
          multiple locations or single locations, and with different business plans and perspectives.

 ([Doc. 8647] at 110.)

          But one cannot say the same for the class representatives—they all are small, with very

 limited locations, and businesses in which they claim to value a right to surcharge their customers

 more than the hard-fought litigation it would take to have the Honor All Cards rules judicially

 declared an anticompetitive restraint. Plaintiffs would rather have an insignificant, temporary

 concession on fees than the permanent dismantling of the Honor All Cards rules that cause the

 supracompetitive interchange rates in the first place. The Second Circuit already has warned the

 parties here that adequacy is lacking where different groups seek conflicting forms of relief,

 incentivizing “class” counsel to trade away one group’s interests for another’s and settle on terms

 that disfavor certain class members. See In re Payment Card, 827 F.3d at 234.

          Given that this Court previously has acknowledged the differences between Small Local

 Merchants and Large National Merchants, it should not approve a one-sided settlement that sells

 out the interests of the latter group entirely. Instead, this Court should: (i) refuse to preliminarily


 8
   Cf. Broussard v. Meineke Discount Muffler Shops, Inc., 155 F.3d 331, 338-39 (4th Cir. 1998) (“the remedial interests
 of those within the single class [were] not aligned,” and the named plaintiffs’ election of remedies “may have benefitted
 [some class members], but at the expense of [other class members] who made up half of the class,” which illustrated
 “the error in allowing them to sue on behalf of ‘all’ … franchisees.”) (internal quotation marks omitted).

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 approve the Proposed Settlement in its entirety, or (ii) give the Large National Merchants (or just

 Walmart, as a merchant who has reached a prior settlement with the Defendants) the right to opt

 out, or (iii) define the Large National Merchants out of the class. 9

         C. The Proposed Settlement Demonstrates That The Class Representatives Failed To
            Adequately Represent the Interests of the Large National Merchants

         In examining the prior settlement, the Second Circuit in In re Payment Card held that the

 members of the (b)(2) class were inadequately represented in violation of both Rule 23(a)(4) and

 the due process clause. The court looked to whether the class representatives had adequate

 incentive to represent the entire class’s claim, and then “whether some difference between the class

 representative and some class members might undermine that incentive.” 827 F.3d at 231.

         Here, the differential between the Small Local Merchants and a Large National Merchant

 like Walmart could not be starker. In addition to limited surcharging relief versus an actual repeal

 or rollback of the Honor All Cards rules, the two groups have differently-valued claims as well.

 Giving the Defendants free license to continue their Honor All Cards rules for at least five years

 means that a Large National Merchant like Walmart will have to pay out millions of dollars and

 then sue to claw back its monetary losses. Such merchants have an enormous incentive to avoid

 such a release and target the repeal of the Honor All Cards rules instead.

         Notably, in Ortiz (which was a mandatory class) the Supreme Court was very concerned

 about the differences among identifiable groups within the class when analyzing whether the

 adequacy of representation requirement was satisfied. These differences extended beyond the well-

 known conflict between those plaintiffs who were presently injured by asbestos (and valued a

 quick payout) and those who would be injured in the future (and valued preserving the fund for



 9
  See Batalla Vidal v. Wolf, 501 F. Supp. 3d 117, 137 (E.D.N.Y. 2020) (approving (b)(2) class that excluded those who
 brought separate claims); County of Suffolk v. Long Island Lighting Co., 907 F.2d 1295, 1305 (2d Cir. 1990).

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 future claims). The differences also extended to those whose monetary claims were worth much

 more than the others’ claims because their claim arose within a period where there arguably was

 unlimited indemnification (insurance coverage). The Court recognized that treating everyone’s

 claims the same in a mandatory settlement when one group had claims that were worth much more

 money than another group’s claims was evidence of inadequate representation:

        It is no answer to say, as the Fifth Circuit said on remand, that these conflicts may
        be ignored because the settlement makes no disparate allocation of resources as
        between the conflicting classes. The settlement decides that the claims of the
        immediately injured deserve no provisions more favorable than the more
        speculative claims of those projected to have future injuries, and that liability
        subject to indemnification is no different from liability with no indemnification.
        The very decision to treat them all the same is itself an allocation decision with
        results almost certainly different from the results that those with immediate injuries
        or claims of indemnified liability would have chosen.

        Nor does it answer the settlement’s failures to provide structural protections in the
        service of equity to argue that the certified class members’ common interest in
        securing contested insurance funds for the payment of claims was so weighty as to
        diminish the deficiencies beneath recognition here. …

        … Rule 23 requires protections under subdivisions (a) and (b) against inequity and
        potential inequity at the precertification stage, quite independently of the required
        determination at postcertification fairness review under subdivision (e) that any
        settlement is fair in an overriding sense. A fairness hearing under subdivision (e)
        can no more swallow the preceding protective requirements of Rule 23 in a
        subdivision (b)(1)(B) action than in one under subdivision (b)(3).

 Ortiz, 527 U.S. at 858-59 (emphasis added). It was precisely the trial court’s failure to give

 structural protections—i.e. subclassing—to the group which had much more valuable claims that

 violated the adequacy of representation requirement and due process.

        Here, the Large National Merchants suffer hundreds of millions of dollars of losses each

 year the Defendants’ Honor All Cards rules escape judicial review. The Small Local Merchants’

 losses are understandably smaller. The first group’s claims are worth substantially more than the

 second group’s. Here, the class representatives (all of whom have smaller claims) have agreed to



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 a settlement that suits their interest in surcharging and gives nothing to the Large National

 Merchants—and worse, bars large merchants from suing to staunch the flow of their much larger

 financial losses for a period of at least five years. What Ortiz shows, and the Second Circuit

 recognized in In re Payment Card, is that one must look past the conduct that gave rise to the claim

 to identify “fault lines” between the interests of groups of plaintiffs that are “so fundamental that

 they require[] ‘structural protection’ in the form of subclasses with separate counsel.” 827 F.3d at

 232.

        In this case, the proposed settlement negotiated by the Small Local Merchants is evidence

 that serious fault lines exist here between the two types of merchants identified:

    •   Plaintiffs agreed to let Defendants keep in place their Honor All Cards rules with five years
        of immunity from suits to enforce the antitrust laws against them, which is certain to cost
        the Large National Merchants billions of dollars in “prepaid damages.”

    •   The Proposed Settlement provides “relief” that is of no value to Walmart or merchants like
        it.
            o “Group Buying” is of no utility for large merchants, Visa says group buying is
               already permissible, they are rarely—if ever—used, and without a repeal of Honor
               All Cards rules, Defendants have zero incentive to negotiate in good faith with
               merchants individually or in a group.
            o “Discounting” offers no benefit to Walmart because it conflicts with its Every Day
               Low Price strategy, could be complicated by co-branding agreements, and because
               Walmart has more than 140,000 SKUs at its typical supercenter, it is impractical
               for Walmart to display differentiated pricing based on payment types or issuers.
            o “Honor All Outlets” Pilot Testing is of no benefit to Walmart because it may be
               party to commercial arrangements that require acceptance across all of its locations,
               and such testing is inconsistent with Walmart’s goal of providing customers with a
               uniform experience across its more than 5,000 locations.
            o The limited, time-restricted caps on average interchange fees do not increase
               competition and offer no real benefit because they can be offset by Defendants (e.g.,
               with network assessments).
            o The “surcharge” right does not promote competition and creates a cumbersome and
               ineffective cost recovery tool that conflicts with Walmart’s business model.

    •   Importantly, the mandatory five-year waiver of antitrust law enforcement rights handicaps
        the one group of merchants, the Large National Merchants, that can actually prosecute
        individual enforcement actions that would benefit the market and the public.


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 As the Second Circuit instructed in In re Payment Card, “unitary representation of separate classes

 that claim distinct, competing, and conflicting relief create unacceptable incentives for counsel to

 trade benefits to one class for benefits in the other in order somehow to reach settlement.” 827 F.3d

 at 234 (the problem is exacerbated because the members of the worse-off (b)(2) class could not

 opt out); see also id. at 237 (“When ‘one category [of class members are] targeted for worse

 treatment without credible justification’ it ‘strongly suggests a lack of adequate representation for

 those class members who hold only claims in this category’”).

          D. The Terms of the Proposed Settlement Show That Class Counsel Sold Out
             the Interests of Absent Class Members Like Walmart

          The fault lines identified above also demonstrate the inadequacy of class counsel, who have

 a fiduciary duty to the entire class (including the Large National Merchants) to zealously pursue

 their interests. But counsel’s failure to protect the class interests goes further. Incredibly, in a

 mandatory class action settlement in which class members are being forced—over their

 objection—to participate in the settlement, class counsel handed over to Defendants a “voluntary”

 release from unknown claims, hidden claims, and concealed claims, including claims covered by

 California Civil Code Section 1542. This is, of course, likely unenforceable in California as against

 public policy. But even more important, this overreach is evidence of class counsel’s priority to

 obtain a “settlement” and their class counsel fee. 10

          The inadequacy of class counsel, as demonstrated by the Proposed Settlement itself—is an

 independent reason to deny preliminary approval.



 10
   There are numerous other problems with the settlement that demonstrate counsel’s inadequacy, which Walmart will
 more fully detail in its objection if this Court grants preliminary approval. For example, the broad release of claims
 that are not at the core of this lawsuit—such as claims relating to any corporate restructuring and IPOs of the
 Defendants, the Bank Defendants’ employees’ participation in boards or committees of the Visa and Mastercard
 Defendants, and sweeping into the definitions of “Released Parties” and “Releasing Parties” future entities that were
 not part of this litigation—further suggest class counsel utterly surrendered to Defendants’ wishes and handed them
 the pen in drafting this settlement.

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    II.      THE SETTLEMENT’S 5+ YEAR RELEASE OF THE CLASS MEMBERS’
             RIGHTS TO INDIVIDUALLY ENFORCE THE ANTITRUST STATUTES IS
             ANTITHETICAL TO LEGISLATIVE INTENT AND AGAINST PUBLIC
             POLICY

          The Proposed Settlement forces the mandatory class members not only to settle their past

 claims for equitable and declaratory relief against the Defendants, but it also forces them to release

 and covenant not to sue Defendants for continuing violations that occur within five years after the

 trigger date. It even goes so far as to preclude claims for unknown future changes Defendants may

 make to their “rules,” as well as their future corporate restructuring and IPOs. ([Doc. 9179-2] at

 ¶¶ 80-85.) This Court should refuse to preliminarily approve the settlement because it is against

 public policy as expressed by Congress and recognized by the courts.

          Prospective waivers of private antitrust claims are prohibited by the letter of the antitrust

 laws. Such waivers operate as an agreement in “restraint of trade” by insulating alleged

 anticompetitive conduct from private antitrust enforcement. 15 U.S.C. § 1. Private enforcement of

 the antitrust laws is the primary way such laws are enforced in America today, and the general

 public (and the market in general) benefits directly by virtue of antitrust suits brought by private

 individuals and companies. The private-enforcement mechanism is an “integral part of the

 congressional plan for protecting competition.” California v. Am. Stores Co., 495 U.S. 271, 284

 (1990); see also Mitsubishi Motors Corp. v. Soler Chrysler-Plymouth, Inc., 473 U.S. 614, 635

 (1985) (“central role”); Illinois Brick Co. v. Illinois, 431 U.S. 720, 755 (1977) (“paramount role”).

          The Supreme Court has expressed “little hesitation in condemning” an agreement that

 “operate[s] … as a prospective waiver of a party’s right to pursue statutory remedies for antitrust

 violations” as “against public policy” established in federal antitrust law. Mitsubishi, 473 U.S. at

 637 n.19. Private agreements that confer even “a partial immunity from civil liability for future

 violations” of the antitrust laws violate the Sherman Act and the public policy underlying it. Lawlor


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 v. National Screen Serv. Corp., 349 U.S. 322, 329 (1955); see also Mitsubishi, 473 U.S. at 629;

 Am. Express Co. v. Italian Colors Rest., 570 U.S. 228, 236 (2013); cf. FTC v. Actavis, Inc., 570

 U.S. 136, 158 (2013) (if parties structure a settlement with the “desire to maintain and to share

 patent-generated monopoly profits, then, in the absence of some other justification, the antitrust

 laws are likely to forbid the arrangement”).

          Notably, it did not matter to the Supreme Court in Lawlor that public (i.e., government)

 enforcement of the antitrust laws remained an option, as it does in the Proposed Settlement here.

 Rather, the Court rejected the agreement because it would have violated “the antitrust laws” simply

 by extinguishing the claims of “a number of” private advertising businesses and thereby prevented

 them from enforcing the antitrust statutes. See Lawlor, 349 U.S. at 324, 329. “Where a private

 right is granted in the public interest to effectuate a legislative policy, waiver of a right so charged

 or colored with the public interest will not be allowed where it would thwart the legislative policy

 which it was designed to effectuate.” Brooklyn Sav. Bank v. O’Neil, 324 U.S. 697, 704 (1945).

          This is not even a situation in which all parties to the agreement are voluntarily waiving

 their private enforcement rights. Rather, here the Proposed Settlement waives—over the objections

 of a significant portion of the non-opt-out class—the private right to challenge continuing

 violations of the antitrust laws for five years in the future, and mandatorily precludes retailers from

 bringing private actions for new violations of the antitrust laws based on “rules” the Defendants

 have not even written yet, as well as mergers/restructuring/IPOs that are as yet unexecuted. No

 such cram-down mandatory settlement could withstand appellate review. Indeed, courts have long

 understood that settlements which include a release or waiver of future antitrust claims are void as

 against public policy. 11


 11
   See, e.g., Redel’s Inc. v. General Elec. Co., 498 F.2d 95, 99 (5th Cir. 1974) (“The prospective application of a general
 release to bar private antitrust actions arising from subsequent violations is clearly against public policy.”); Fox

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            This Court should refuse to preliminarily approve any proposed settlement that includes a

 provision releasing claims for future violations of the antitrust statutes.

     III.      IF THE COURT PRELIMINARILY APPROVES THIS PROPOSED
               SETTLEMENT, IT MUST GIVE THE CLASS MEMBERS WHO WOULD BE
               BOUND TO IT NOTICE AND AN OPPORTUNITY TO OPT OUT

            Numerous courts have recognized that a district court has the discretion to grant class

 members the right to opt out in a Rule 23(b)(2) class action where fundamental fairness requires

 it. As the Second Circuit has explained, although the right to opt out is not obvious from the face

 of Rule 23(b)(2), “‘the language of Rule 23 is sufficiently flexible to afford district courts

 discretion to grant opt-out rights in (b)(1) and (b)(2) class actions.’” McReynolds v. Richards-

 Cantave, 588 F.3d 790, 800 (2d Cir. 2009) (quoting Eubanks v. Billington, 110 F.3d 87, 94 (D.C.

 Cir. 1997)); see also County of Suffolk, 907 F.2d at 1304-05 (“a district court, in a proper case and

 in the exercise of sound discretion, may allow a class member to opt out of a limited fund class

 action … in order to facilitate the fair and efficient conduct of the action”); Batalla Vidal, 501 F.

 Supp. 3d at 137 (quoting the same passage of McReynolds); Biediger v. Quinnipiac Univ., 2010




 Midwest Theatres v. Means, 221 F.2d 173, 180 (8th Cir. 1955) (“Any contractual provision which could be argued to
 absolve one party from liability for future violations of the antitrust statutes against another would to that extent be
 void as against public policy.”); AT&T Mobility LLC v. Fisher, 2011 WL 5169349, at *5 (D. Md. Oct. 28, 2011) (noting
 a waiver of “the right to a particular remedy under the antitrust acts (or even to bring an antitrust action at all) … might
 violate public policy and be unenforceable”); Demsheck v. Ginn Dev. Co., LLC, 2009 WL 10663051, at *3 (M.D. Fla.
 Dec. 9, 2009) (finding prospective releases of statutory remedies “invalid as contrary to public policy”); Flying J Inc.
 v. TA Operating Corp., 2008 WL 4923041, at *4 (D. Utah Nov. 14, 2008) (“[A] prospective release of antitrust claims
 would be void as against public policy.”); Schwartz v. Dallas Cowboys Football Club, Ltd., 157 F. Supp. 2d 561, 578
 (E.D. Pa. 2001) (“Because public policy prohibits a release from waiving claims for future violations of antitrust laws,
 and given that under the proposed release class members would be releasing unlitigated future claims, the releases are
 too broad.”); Innovation Data Processing, Inc. v. International Bus. Machs., Corp., 585 F. Supp. 1470, 1477 (D.N.J.
 1984) (finding purported release agreement could not serve as an affirmative defense because “[t]he only way in which
 the [agreement] could here serve as an affirmative defense … would be if it had application as against antitrust
 violations occurring after the date of the release”); Minnesota Mining & Mfg. Co. v. Graham-Field, Inc., 1997 WL
 166497, at *3 (S.D.N.Y. Apr. 9, 1997) (“[A] prospective waiver of an antitrust claim violates public policy.”); Perry
 v. Amerada Hess Corp., No. 18384, 1977 WL 1433, at *1 (N.D. Ga. July 7, 1977) (noting “a release may not be
 executed to absolve a party from future violation of antitrust laws”).


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 WL 2017773, at *7 (D. Conn. May 20, 2010) (citing McReynolds, 588 F.3d at 800) (“[A]ny

 members who do not want to be represented in the [Rule 23(b)(2)] class, or who believe they are

 erroneously included in the class, may opt out if they so choose.”); Scholtisek v. Eldre Corp., 229

 F.R.D. 381, 393 n.10 (W.D.N.Y. 2005) (“A district court has discretion to permit opt-outs in a

 (b)(1) or (b)(2) action ….”). 12

          Granting an opt-out right is particularly appropriate to remedy a conflict between

 competing interests among groups of class members. See Fowler v. Birmingham News Co., 608

 F.2d 1055, 1059 (5th Cir. 1979) (noting “[a]ny antagonistic interests involved [in the Rule 23(b)(2)

 class] were ameliorated by the provision for notice in the decree with an opportunity to opt out of

 the class”); Fuller v. Fruehauf Trailer Corp., 168 F.R.D. 588, 604 (E.D. Mich. 1996) (granting an

 opt-out opportunity for members of a Rule 23(b)(2) class).

          Of course, the Supreme Court in Shutts held that notice and opt-out rights are a due process

 right in claims involving monetary relief. But it bears repeating that even the injunctive relief at

 issue in this Proposed Settlement is clearly monetary in nature—dealing with rate caps, surcharges,

 and other things having to do with money. This “deal” effectively gives Defendants a license to

 continue their challenged anticompetitive practices for at least five years without any class member

 individually being able to obtain a judicial ruling on their legality or otherwise stop them. That, of

 course, results in ongoing monetary harm. 13 And that triggers the same sort of due process rights

 the Supreme Court recognized in Shutts.



 12
    Accord Ryan C. Williams, Due Process, Class Action Opt Outs, and the Right Not To Sue, 115 Colum. L. Rev. 599,
 605 (2015) (“Taking seriously the right of absent class members to control whether or not their claims will be asserted
 may require that opt-out rights be extended to all situations in which the inclusion [in the class] … has the potential
 to affect the scope of the defendant’s remedial obligation—even where the action seeks only injunctive relief.”)
 13
    In fact, given that the provisions require a stay of even a claim for monetary damages where the Defendants raise
 this Proposed Settlement as a defense—coupled with the provision that this Court’s determination somehow is
 unreviewable by an appellate court—it is highly questionable whether this “agreement” really preserves any absentee
 class member’s monetary damages claim at all.

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        The Second Circuit already has held that it was improper under Dukes to approve a

 settlement that compromised an absent class member’s interests in monetary relief without giving

 that absentee the basic notice and opt-out rights that Shutts required as a matter of fundamental

 due process. In re Payment Card, 827 F.3d at 238-39. From a constitutional perspective, there is

 no difference when the proposed settlement restrains the absentee for five years from suing to stop

 the overcharging and thereby prevent the loss of millions of dollars that will accrue in that time.

        Because this Proposed 23(b)(2) Settlement necessarily implicates the Objectors’ very real

 interest in stopping the forced “prepayment” of money into Defendants’ coffers that they then must

 later sue to get back, due process and fundamental fairness require that this Court give the entire

 class notice and an opportunity to opt out of the Proposed Settlement if the Court decides to grant

 preliminary approval with the Release as written. In the alternative, Walmart requests that this

 Court use its “authority to modify a proposed class definition” and “exercise[] its discretion to

 carve out an appropriate class from the overbroad class proposed by Plaintiffs.” ([Doc. 8647] at

 98.) This Court could easily carve out of the class definition (and this settlement) the Large

 National Merchants like Walmart, who were not represented among the named class

 representatives and whose interests plainly were not addressed by class counsel in this Proposed

 Settlement.

                                          CONCLUSION

        For the foregoing reasons, Walmart respectfully requests that this Court deny Plaintiffs’

 Motion for Preliminary Approval of the Proposed Settlement.




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 Dated: April 26, 2024                Respectfully submitted,

                                       /s/ Paul H. Schoeman

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                                  CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on April 26, 2024, a true and correct copy of the

 foregoing was filed electronically using the Court’s electronic filing system. By operation of that

 system a notice of electronic filing will be served upon all counsel of record in the case.

                                                               /s/ Paul H. Schoeman




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